         Case 1:13-cv-00227-MBH Document 115 Filed 08/20/18 Page 1 of 2



                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                                Electronically filed August 20, 2018

                                                      )
DEBRA JONES, et al.,                                  )
                                                      )
                Plaintiffs,                           )
                                                      )
       v.                                             )       No. 1:13-cv-00227-MBH
                                                      )       Senior Judge Marian Blank Horn
THE UNITED STATES OF AMERICA,                         )
                                                      )
                Defendant.                            )


            NOTICE OF ERRATA AND MOTION TO REFILE JOINT APPENDIX

       A joint appendix was filed on August 9, 2018, consistent with this Court’s order of May

10, 2018 (ECF No. 93). ECF Nos. 99-109. The parties have determined since then that

approximately 143 documents of the documents filed that should have been filed under seal were

not. To remedy this oversight, the parties file a Notice of Errata (Ex. 1), listing the documents that

should have been filed under seal, and request permission to re-file the joint appendix as follows:

       1. All documents that are not designated as confidential would be refiled with the previous

             filings of non-confidential documents stricken. See ECF Nos. 99-109.

       2. Documents previously designated as confidential and filed under seal would not be

             refiled. See ECF Nos. 110-114.

       3. Those documents previously filed as non-confidential but which should have been filed

             as confidential (Ex. 1) would be designated as confidential and, with the Court’s

             permission, filed under seal.

       4. A new index would be filed that reflects the change in status of the documents listed at

             Ex. 1 from non-confidential to confidential.



                                                  1
         Case 1:13-cv-00227-MBH Document 115 Filed 08/20/18 Page 2 of 2



        Jeffrey Rasmussen, counsel for Plaintiffs, has reviewed this Notice of Filing and consented

to the United States filing it on behalf of both parties.

RESPECTFULLY SUBMITTED this 20th day of August, 2018.


                                        JEFFREY H. WOOD
                                        Acting Assistant Attorney General
                                        United States Department of Justice
                                        Environment and Natural Resources Division

                                        s/ Terry M. Petrie
                                        Terry M. Petrie
                                        999 18th Street
                                        South Terrace, Suite 370
                                        Denver, CO 80202
                                        Telephone: (303) 844-1369
                                        Facsimile: (303) 844-1350
                                        Email: terry.petrie@usdoj.gov

                                        Counsel for the United States




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